                                                                    (SPACE BELOW FOR FILING STAMP ONLY)
      Case 1:08-cr-00212-AWI Document 390 Filed 10/08/10 Page 1 of 2


 1        ROGER T. NUTTALL #42500
           NUTTALL & COLEMAN
 2               2445 Capitol Street, Suite 150
                     FRESNO, CA 93721
 3                  PHONE (559) 233-2900
                     FAX (559) 485-3852
 4
 5     ATTORNEYS FOR  Defendant,
                   JASDEV SINGH
 6
 7
 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                  * * * * * * * *
11
     UNITED STATES OF AMERICA,                            Case No.: 1:08-CR-000212 OWW
12
                   Plaintiff,
13
           vs.                                            STIPULATION RE: CONTINUANCE
14                                                                       OF SENTENCING
     JASDEV SINGH,
15                                                                      And
                   Defendant.
16                                                                  O R D E R
17
18        IT IS HEREBY STIPULATED by and between the parties herein
19   that the Sentencing currently scheduled for October 12, 2010, at
20   9:00 a.m. be continued to November 15, 2010, at 9:00 a.m. before
21   the Honorable OLIVER W. WANGER.
22        Counsel requests this continuance due to the fact that there
23   are still issues which counsel needs to clarify as related to the
24   pending defense Motion to Dismiss.
25        Counsel’s staff has been in touch with Ms. Karen Escobar of
26   the United States Attorney’s Office, who has no objection to such
27   a continuance so long as it stays the date of filing of the
28   Government’s response.
      Case 1:08-cr-00212-AWI Document 390 Filed 10/08/10 Page 2 of 2


 1        It is your Declarant’s opinion that a continuance such as
 2   requested shall not prejudice any party concerned with this
 3   matter.
 4        DATED: October 7, 2010.
 5                                            NUTTALL & COLEMAN
 6                                            By:    /s/ Roger T. Nuttall
                                                    ROGER T. NUTTALL
 7                                                  Attorneys for Defendant
                                                    Jasdev Singh
 8
 9        DATED: October 7, 2010.
10                                            By: /s/ Karen Escobar
                                                  KAREN ESCOBAR
11                                                Assistant U.S. Attorney
12
                                  ***************
13
14                                  O R D E R
15
16        Good cause appearing,
17        IT IS ORDERED that the Sentencing currently scheduled
18   on October 12, 2010, at 9:00 a.m. is continued to November 15,
19   2010 at 9:00 a.m.
20
     IT IS SO ORDERED.
21
     Dated: October 7, 2010                 /s/ Oliver W. Wanger
22   emm0d6                            UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28

                                          2
